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                                 UNITED STATES DISTRI12ûR]\l                          ¡;wJ ~13 "lJ (&
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                                                                                                                       &,K,
                                SOUTHERN DISTRICT OF NEW YORK

                                                                                       ..
JAENEAN LIGON, individually and on                                                   ~fJ{lJ:~/1      Ic    .

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behalf of her minor son, J.G., FAWN                                                                  ...~'f         L/ i~
                                                                     COMPL                                     '~
BRACY, individually and on behalf of her
minor son, W.B., JACQUELINE YATES,                                                            1'/411 "                         ~!J
LETITIA LEDAN, ROSHEA JOHNSON,
IGERON JOHNSON, JOVAN JEFFERSON,
                                                                                            :'~~Ug
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A.O., by his parent DINAH ADAMES,                                                                         -.....:.::"" "'--_
                                                                       12 Civ. No.
ABDULLAH TURNER, FERNANDO
MORONTA, and CHARLES BRADLEY,
individually and on behalf of a class of all
others similarly situated;

       Plaintiffs,

                     -versus-
                                                                 JURY TRIAL DEMANDED
CITY OF NEW YORK; RAYMOND W.
KELLY, COMMISSIONER OF THE NEW
YORK CITY POLICE DEPARTMENT;
POLICE OFFICER JOHNNY BLASINI;
POLICE OFFICER GREGORY                                                 ECFCASE
LOMANGINO; POLICE OFFICER JOSEPH
KOCH; POLICE OFFICER IGERON
RAMDEEN; POLICE OFFICER JOSEPH
BERMUDEZ; POLICE OFFICER MIGUEL
SANTIAGO; POLICE OFFICERS JOHN
DOE 1-12;

        Defendants.



                                   PRELIMINARY STATEMENT

         1.      This action, brought einbehalf of twelve N ew York City residents, one former

 New York City resident, and a class of similarly situated individuals, challenges the New York

 City Police Department's unconstitutional stop, question, search, citation, and arrest policies
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implemented pursuant to "Operation Clean Halls," a program that allows police officers to patrol

inside and around thousands of private residential apartment buildings across the City. Each

year this program results in thousands of illegal stops, searches, summonses, and arrests ofthose

buildings' residents and their invited guests without cause.

        2.         The abusive stop, question, search, citation, and arrest practices of New York City

Police Department ("NYPD") officers in buildings enrolled in Operation Clean Halls ("Clean

Halls Buildings") stand in stark contrast to the program's professed purpose, which is to combat

illegal activity in apartment buildings with records of high crime. NYPD officers routinely

detain residents of Clean Halls Buildings and their visitors without individualized suspicion of

unlawful activity and make arrests or issue summonses without probable cause of criminal

activity.

            3.     For residents of Clean Halls Buildings and their visitors, merely exiting a Clean

Halls Building frequently leads to being stopped, searched, and interrogated by NYPD officers

on public sidewalks and in exterior courtyards. These stops typically involve full searches and

questioning as to the person's reason for having been inside the building, and frequently result in

arrest or the issuance of a summons if the person cannot affirmatively justify his presence to the

police officer's satisfaction.

        4.          Such seizures also take place in the lobbies, vestibules, stairwells, hallways, and

other public areas of Clean Halls Buildings, where residents are often illegally stopped, searched,

questioned, issued summonses, and even arrested without cause for allegedly trespassing inside

in their own buildings. They are frequently stopped and forced to produce identification while

engaged in completely innocuous activities like checking their mail or taking out their garbage.

To avoid arrests or summonses for trespassing, many residents of Clean Halls Buildings are




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compelled to carry identification with them whenever they exit their apartments for any

purpose--including   trips to the laundry room or to visit a neighbor.

       5.       Illegal stops inside Clean Halls Buildings sometimes occur during floor-by-floor

sweeps by NYPD officers, known as vertical patrols. Upon information and belief, hundreds of

thousands of vertical patrols take place annually in Clean Halls Buildings. For instance,

testimony before the New York City Council Committee on Public Safety by Inspector Michael

C. Phipps, the Commanding Officer of the NYPD' s Housing Borough Manhattan, indicates that

the NYPD conducted approximately 240,000 vertical patrols in privately owned buildings in

2003 alone.

       6.       Residents of some Clean Halls Buildings are stopped, questioned, and searched

by NYPD officers on a regular basis-sometimes         multiple times a week. For many young men

of color in particular, being searched and seized by NYPD officers in and around their homes has

become normalized and is simply a routine part of their lives.

       7.       The NYPD's illegal stop, question, search, citation, and arrest practices in Clean

Halls Buildings mirror those in properties managed by the New York City Housing Authority

("NYCHA Residences").      But while the NYPD has recently adopted new regulations and

instituted limited training for officers concerning appropriate stop, search, and arrest activity at

NYCHA Residences, it has ignored the problems of suspicionless stops, searches, citations, and

arrests in and around Clean Halls Buildings.

        8.      The NYPD' s use of overzealous and baseless tactics harms not just residents of

Clean Halls Buildings, but also their guests, who are often seized in and around Clean Halls

Buildings by NYPD officers when they visit. Residents of some Clean Halls Buildings warn

their friends, family members, and others not to visit them for fear that they will be stopped,




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questioned, searched, and issued summonses or arrested for trespassing by NYPD officers.

Consequently, residents of Clean Halls Buildings are restricted in their ability to maintain

familial ties, friendships, and other relationships with individuals of their choosing.

       9.       Upon information and belief, although Clean Halls Buildings are inhabited by

N ew Yorkers of all racial backgrounds, the residents of Clean Halls Buildings are

disproportionately black and Latino as compared to the City's population. Because the NYPD

does not evaluate whether a building has substantial or sustained criminal activity that could

justify its enrollment in Operation Clean Halls, these racial disparities persist without any

meaningful correlation to actual crime levels. The NYPD selects certain Clean Halls Buildings

for particularly aggressive tactics, where residents and their guests are at heightened risk of being

stopped, questioned, searched, issued summonses, and arrested by NYPD officers. Upon

information and belief, the residents of those targeted buildings are disproportionately black and

Latino compared with the population of residents of all Clean Halls Buildings and with the

population of New York City as a whole. As a result, the NYPD' s illegal stop, question, search,

citation, and arrest practices in and around Clean Halls Buildings have a significant disparate

impact on blacks and Latinos in their enjoyment of housing and in their receipt of municipal

services connected with housing as compared to whites.

        10.     The NYPD's abusive practices of stopping, questioning, searching, citing, and

arresting residents of Clean Halls Buildings and their visitors without adequate cause violate the

United States and New York Constitutions, the Fair Housing Act, and New York common law.

Plaintiffs here, who seek to represent a class of similarly situated individuals, seek a declaration

that the NYPD' s practices are unlawful and an injunction against those practices.




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                                           PARTIES

      Plaintiffs

       11.     Plaintiff JAENEAN LIGON is a black resident of the Bronx, New York.

       12.     Plaintiff lG. is 17 years old and appears in this action by and through his mother,

JAENEAN LIGON. J.G. is black and lives in the Bronx, New York.

       13.     Plaintiff FAWN BRACY is a black resident ofthe Bronx, New York.

       14.     PlaintiffW.B. is 17 years old and appears in this action by and through his

mother, FAWN BRACY. W.B. is black and lives in the Bronx, New York.

       15.     Plaintiff JACQUELINE YATES is a black resident of the Bronx, New York.

       16.     Plaintiff LETITIA LEDAN is a black resident of the Bronx, New York.

       17.     Plaintiff ROSHEA JOHNSON is a black resident of Schenectady, New York.

       18.     PlaintiffKIERON JOHNSON is ablade resident of the Bronx, New York.

       19.     Plaintiff JOVAN JEFFERSON is a black resident of the Bronx, New York.

       20.     Plaintiff A.O. is 17 years old and appears in this action by and through his mother,

DINAH ADAMES. A.O. is Latino and lives in the Bronx, New York.

       21.     Plaintiff ABDULLAH TURNER is a black resident of the Bronx, New York.

       22.      Plaintiff FERNANDO MORONTA is a Latino resident ofthe Bronx, New York.

       23.      Plaintiff CHARLES BRADLEY is a black resident of the Bronx, New York.

       Defendants

       24.      Defendant THE CITY OF NEW YORK is a municipal corporation duly

incorporated and existing pursuant to the laws of the State of New York. The City of New York

has established and maintains the NYPD as a constituent department or agency.




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        25.     Defendant RAYMOND W. KELLY is the Police Commissioner for the City of

New York, with supervisory authority over all officers and operations of the NYPD, including

responsibility for training, recruiting and managing all NYPD officers. He is sued in his official

capacity.

        26.     Defendant Police Officer JOHNNY BLASINI is or was an employee of the

NYPD at all relevant times. He is sued in his official and individual capacities.

        27.     Defendant Police Officer GREGORY LOMANGINO is or was an employee of

the NYPD at all relevant times. He is sued in his official and individual capacities.

        28.     Defendant Police Officer JOSEPH KOCH is or was an employee of the NYPD at

all relevant times. He is sued in his official and individual capacities.

        29.     Defendant Police Officer KIERON RAMDEEN is or was an employee of the

NYPD at all relevant times. He is sued in his official and individual capacities.

        30.     Defendant Police Officer JOSEPH BERMUDEZ is or was an employee of the

NYPD at all relevant times. He is sued in his official and individual capacities.

        31.     Defendants JOHN DOES 1-12 are members of the NYPD whose full identities

are not known to the Plaintiffs, but who are officers who participated in the encounters with the

Plaintiffs described in paragraphs 36-142, infra. They are all sued in their official and individual

capacities.

                                               FACTS

                                       Operation Clean Halls

        32.     Operation Clean Halls is a citywide program operated by the NYPD that has

existed in some form since 1991. In some Bronx neighborhoods, virtually every private

apartment building is enrolled in the program, with hundreds of buildings in any given police




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precinct. In Manhattan alone, there are at least 3,895 Clean Halls Buildings. The program

operates under the names "Trespass Affidavit Program" and "Formal Trespass Affidavit

Program" in Manhattan and Brooklyn, respectively.      (All references in this complaint to "Clean

Halls" or "Operation Clean Halls" refer to all such programs in all five boroughs.)

       33.      Enrollment of a private residential building in Operation Clean Halls is

accomplished simply by virtue of an executed "Clean Halls affidavit"-a      boilerplate fonn on

which a building's address is filled in that is signed by a landlord or managing agent. Clean

Halls affidavits state that NYPD officers have permission to enter enrolled buildings and arrest

anyone found within who is engaged in criminal activity. In the Bronx, Clean Halls affidavits

confer authority on NYPD officers to enter enrolled buildings "into perpetuity."

       34.      The NYPD has a widespread practice of stopping, questioning, and searching

those they encounter in Clean Halls Buildings without any suspicion of unlawful behavior, and

arresting them or issuing summonses without probable cause. (A summons is sometimes

referred to herein as a "citation.") All tenants of New York City's thousands of Clean Halls

Buildings, their guests, and anyone in close proximity to the buildings are at risk of being

subjected to these unlawful practices.

       35.      The rights of the individual Plaintiffs and the class they seek to represent have

been infringed by the NYPD's practices of unlawfully stopping, questioning, searching,

arresting, and issuing summonses pursuant to Operation Clean Halls.

                                         Named Plaintiffs

Jaenean Ligon & J.G.

       36.      Jaenean Ligon is a 40-year-old black woman who has lived for the past seven

years at 290 East 163rd Street in the Bronx, a building that is enrolled in Operation Clean Halls.




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She lives with her three sons, lG., J.A.G., and Jerome Grant. lG. and J.A.G., twins, are 17

years old. Jerome is 19 years old.

       37.     Ms. Ligon and lG. have been unlawfully seized, and lG. has been unlawfully

searched and arrested, pursuant to Operation Clean Halls.

       38.     Ms. Ligon and her sons have been stopped, questioned, and searched without

cause by NYPD officers in and around their building. Police officers typically stop Ms. Ligon's

sons in front of their own home on East 163rd Street, at other locations on their own block, and

on surrounding blocks multiple times a week. During the course of such stops, they are usually

questioned about where they live and where they are going, and are searched without cause.

Many of these stops have been made in connection to their building's enrollment in Operation

Clean Halls.

       39.     In August 2011, Ms. Ligon asked J.G. to go to a store near their home to purchase

ketchup for use with the dinner she was preparing. J.G. walked to the store, purchased the

ketchup, and returned to their apartment building. Four officers, Jolm Does 1-4, two in plain-

clothes and two in uniforms, stopped J.G. without cause just outside the front door of his

building and asked him why he was going inside the building. J.G. responded that he lived in the

building and produced identification.   He told the officers that he had just returned from the store

and showed the officers the bag in his hand, which contained ketchup. One officer asked J.G. to

identify the apartment in which he lived. lG. responded, telling the officer his family's

apartment number.

       40.     The officers then rang the bell to Ms. Ligon's apartment. Over the intercom, Ms.

Ligon heard a man say that he was a police officer, and he needed her to come down to identify

her son. Terrified that lG. was injured or dead, Ms. Ligon ran out of the apartment to find out




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what had happened to J.G. As she approached the lobby she saw J.G. standing just outside the

vestibule near the mailboxes, surrounded by four officers. She collapsed and began weeping.

One officer began laughing, asked Ms. Ligon if J.G. was her son, and handed her the ketchup.

          41.      During the 2011 July 4th holiday weekend, Ms. Ligon and J.AG. were stopped

without justification by NYPD officers shortly after they exited their building. They got into

their car, and as Ms. Ligon drove down their block, two officers in an unmarked vehicle signaled

for Ms. Ligon to pull over. She complied with the order. The officers asked for permission to

search J.AG.'s backpack. Ms. Ligon consented to the search, during which the officers found

J.AG.'s    gym shorts and driver's manual. After joking about lAG.'s        driving skills, the officers

let Ms. Ligon and J.AG. go. Upon information and belief, the only basis for the stop and search

was their emergence from their building, which is enrolled in Operation Clean Halls.

          42.      Ms. Ligon's son Jerome was stopped without cause in the fall of 2010, as he

retumed home from visiting Ms. Ligon's father, his grandfather. Ms. Ligon's father drove

Jerome home, and when they arrived, Jerome exited the vehicle. While his grandfather looked

for a parking spot, Jerome approached the front door of his family's building. Two NYPD

officers approached Jerome, asked him why he was entering the building and ordered him to

produce identification.     Ms. Ligon's father saw that Jerome had been stopped, exited his vehicle,

identified himself as Jerome's grandfather, and asked the officers why they had stopped his

grandson. The officers proceeded to search Jerome without cause. The officers then let Jerome

enter the building and Ms. Ligon's father left.

          43.      Ms. Ligon, J.G. and their friends and relatives fear and face a substantial risk of

being unlawfully stopped, questioned, searched, and arrested or cited for trespassing in and




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around 290 E. 163rd Street by NYPD officers in the future because of the building's enrollment

in Operation Clean Halls.

Fawn Bracy & W.B.

       44.       Fawn Bracy is a 50-year-old black woman who has lived for the past 15 years at

363 East 163rd Street in the Bronx, a building that is enrolled in Operation Clean Halls. She

lives with her 17-year-old son, W.B.

       45.       W.B. has been unlawfully seized, searched, and arrested pursuant to Operation

Clean Halls.

       46.       W.B. is stopped unlawfully multiple times every week by NYPD officers in and

around his building, particularly in the courtyard outside the building and on the sidewalk in

front ofthe building. He is also regularly stopped unlawfully by NYPD officers in the vestibule

near the building's mailboxes and in the building's stairwells.

       47.       During the course of a stop, W.B. typically is asked whether he lives in the

building, ordered to produce identification, and searched, despite the lack of reasonable

suspicion of any crime.

        48.      Police harassment in and around Ms. Bracy and W.B.'s building extends to adults

as well as teenagers. Adults who live there cannot even gather in the building's courtyard.

When Ms. Bracy gathers there with friends and neighbors, police officers sometimes approach

them, tell them that they are not allowed to sit in the courtyard, and order them without cause to

return to their apartments.

        49.      As a result of interactions like these with police officers in her own building, Ms.

Bracy's relatives and friends are less willing to visit her at her home. She therefore receives few




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visitors at her home and is unable to socialize with her friends and neighbors in or around her

apartment building.

         50.      Ms. Bracy's sister and nephew, who are W.B.'s aunt and cousin, used to visit Ms.

Bracy and W.B. at their home regularly but in recent years have been stopped often by NYPD

officers in the course of those visits. In an effort to avoid contact with police officers in Ms.

Bracy's building, they now visit far less frequently.

         51.      Other family and friends seeking to visit Ms. Bracy and W.B. have also been

unlawfully stopped, questioned, and searched in and around 363 E. 163rd Street.

         52.      Ms. Bracy, W.B., and their friends and relatives fear and face a substantial risk of

being unlawfully stopped, questioned, searched, and arrested or cited for trespassing in and

around 363 E. 163rd Street by NYPD officers in the future due to the building's enrollment in

Operation Clean Halls.

W.B. &J.G.

         53.      W.B. and J.G., who, as noted above, reside in Clean Halls Buildings, have also

been subjected to suspicionless stops away from their block pursuant to Operation Clean Halls.

         54.      On June 15,2011, W.B. and lG. were unlawfully stopped and arrested for

trespassing while leaving the apartment of their friend, Alex Lebron. Mr. Lebron's apartment is

located at 1106 College Avenue in the Bronx, a building that is enrolled in Operation Clean

Halls.

         55.      At around 5:00 p.m., shortly after arriving at Mr. Lebron's apartment, W.B., J.G.,

and their friend left to go to the store, intending to return immediately thereafter. Mr. Lebron

stayed in the apartment.




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       56.      As W.B., lG., and their friend walked downstairs from Mr. Lebron's apartment,

they encountered two NYPD officers, John Does 5-6, who were walking up the stairs. The

officers ordered the three teenagers to produce identification.   After seeing that the

identifications indicated that the young men did not live in the building, the officers handcuffed

all three and told them that they would be placed under arrest for trespassing.

       57.      W.B., lG., and their friend told the officers that they were visiting their friend

Alex and told them Mr. Lebron's apartment number. While one officer remained with the

teenagers in the stairwell, the other officer walked up to Mr. Lebron's floor and knocked on the

wall of Mr. Lebron's apartment. Mr. Lebron's mother answered the door, and the officer

showed her the identification cards of the three teenagers and asked whether she knew them. Mr.

Lebron's mother replied that she did and that they had just visited her apartment.

       58.      After the officers left her door, Mr. Lebron's mother informed Mr. Lebron that his

friends had been stopped by police officers. Mr. Lebron went downstairs in an attempt to

intervene and prevent their arrest. Mr. Lebron encountered his handcuffed friends and the two

police officers in the lobby of his building. He told the officers that he lived in the building and

that the teens had been visiting him. The officers responded that it was "too late" and placed the

three young men in a police van.

       59.      The arresting officers took W.B., J.G., and their friend to the 44th Precinct, where

they were locked in a cell. After approximately two hours, they were given summonses for

trespassing and released. The trespassing charges against W.B., J.G., and their friend were later

dismissed.

       60.      W.B. and lG. plan to return to 1106 College Avenue to visit Mr. Lebron. They

fear and face a substantial risk of being unlawfully stopped, questioned, searched and arrested or




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cited for trespassing there by NYPD officers in the future due to the building's enrollment in

Operation Clean Halls.

Jacqueline Yates

           61.      Jacqueline Yates is a 53-year-old black woman who works at a Head Start center

with pre-schoolers in the Bronx. She has previously worked as a New York State correctional

officer.

           62.      Ms. Yates has lived for the past 14 years at 361 East l63rd Street in the Bronx, a

building that is enrolled in Operation Clean Halls. She lives with her two sons, l8-year-old

Artemus Robinson, and l-l-year-old M.R. Clinton Robinson, Artemus and M.R.'s father, is a

frequent visitor to Ms. Yates's home.

           63.      Artemus and Clinton Robinson are frequently stopped without cause by NYPD

officers in and around 361 East l63rd Street, particularly on the sidewalks and in the building's

courtyard. They are also regularly stopped without cause by NYPD officers in the building's

stairwells and vestibule, where the building's mailboxes are located. M.R. has been approached

by NYPD officers in and around the building and ordered to return to his apartment at least three

or four times.

           64.      During such stops, Artemus and Clinton are usually asked whether they are

residents of the building and ordered to produce identification.     They are also usually searched

without cause.

           65.      For example, the family was subjected to one incident with the police at their

home in late 2010. As the family was about to depart for a baby shower, NYPD officers stopped

Artemus without cause in the vestibule of 361 East I 63rd Street. Clinton saw NYPD officers

speaking with Artemus as he descended the stairs to exit the building and inquired as to why the




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officers had stopped his son. The officers then instructed Clinton to stand against the wall and

frisked him. The officers then released Artemus but issued Clinton a summons for possession of

an open container in a public place, even though the container he was holding was closed, not

open.

        66.      Police harassment in and around Ms. Yates's building is so pervasive that adults

who live there cannot gather in their own courtyard. When Ms. Yates and Clinton Robinson

gather with their friends and neighbors in their building's courtyard, police officers sometimes

approach them and tell them that they are not allowed to sit in the courtyard and order them to

return to their apartments.

        67.      As a result of interactions like these with police officers in her own building, Ms.

Yates's relatives and friends are less willing to visit her at her home. She therefore receives few

visitors at her home and is unable to socialize with her friends and neighbors in and around her

apartment.

        68.      Some family members and friends of Ms. Yates and her children refrain from

visiting them because they fear being stopped or otherwise harassed by police officers in and

around their building. Among Ms. Yates's cousins, those who are black men are particularly

reluctant to visit. At least two have been stopped and searched without cause by NYPD officers

on the sidewalk adjacent to Ms. Yates's building and in the building's courtyard.

        69.      Ms. Yates, her children, Clinton Robinson, and her friends and relatives fear and

face a substantial risk of being unlawfully stopped, questioned, searched and arrested or cited for

trespassing in or around 361 E. 163rd Street by NYPD officers in the future due to the building's

enrollment in Operation Clean Halls.




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Letitia Ledan & Roshea J011l1son

       70.      Letitia Ledan is a 41-year-old black woman who has lived since 2001 in Building

30 of River Park Towers, a private residential complex in the Bronx that is enrolled in Operation

Clean Halls. Ms. Ledan works at Picture the Homeless, a non-profit organization.

       71.      Roshea Johnson, a 36-year-old black man, is Ms. Ledan's brother and a frequent

invited guest of Ms. Ledan. Mr. Johnson previously lived in New York City and resided with

Ms. Ledan at River Park Towers for over a year. He moved upstate over a year ago, in part to

escape the constant harassment he faced from the NYPD. He currently resides in Schenectady,

New York.

       72.      Ms. Ledan and Mr. Johnson have been unlawfully seized and searched, and Mr.

Johnson has been unlawfully arrested, pursuant to Operation Clean Halls.

       73.      Ms. Ledan has often been stopped while in and around the building she lives in,

without reasonable suspicion of any crime. She has been stopped while checking her mail,

walking out of her building, on her way to the elevator in the lobby of her building, and on the

sidewalk outside of her building. During such stops, police officers typically ask Ms. Ledan

whether she lives in the complex and order her to show identification.

       74.      When Mr. Johnson resided in River Park Towers, he was frequently stopped

without cause by NYPD officers in and around his building, usually three to four times per week

over the course ofthe time he lived there. In the course of those stops, he was typically asked

whether he lived in the building, ordered to produce identification, and searched, despite the lack

of reasonable suspicion of any unlawful activity.

       75.      In June 2010, Mr. Johnson was residing elsewhere in New York City but stored

most of his belongings at Ms. Ledan's apartment in River Park Towers. He had an open




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invitation from Ms. Ledan to visit. One day that month, he went to Ms. Ledan's apartment to

retrieve some clothes he had left there.

       76.       On his way out ofthe building, as Mr. Johnson walked on the pathway leading

away from Building 30, a black van pulled up in front of him. Two plain-clothes NYPD officers,

Jolm Does 7-8, emerged from the van and asked him what he was doing. Mr. Johnson replied

that he was coming from his sister's house, where he had gone to change his clothes but that she

was not home at the moment. The officers asked if he had anything on him and searched him.

The officers told Mr. Jalms on that he was not supposed to be there and that he was trespassing.

Mr. Johnson said he could show the officers mail in his pocket indicating that he was authorized

to be there. He tried to reach into his pocket to show the mail, but the officers refused to look at

it. Instead, they handcuffed Mr. Johnson and placed him in the police van. A third NYPD

officer who was in unifonn was also present.

       77.       After placing Mr. Johnson in the van, the officers drove around with him, during

which time they interrogated him about drugs and guns. Mr. Johnson repeatedly insisted that he

had no information about those topics. After driving around for approximately 30 minutes, the

officers stopped the van, unfastened the handcuffs, and released Mr. Johnson onto the street. He

was never formally arrested or charged with any crime.

       78.       Since moving away from New York City, Mr. Johnson retums approximately

three times a year and stays with Ms. Ledan in River Park Towers. During those visits, he tries

to avoid walking outside any more than is necessary, out of fear that he could be harassed or

detained by NYPD officers.

        79.      Other relatives and friends of Ms. Ledan have often been stopped and ordered to

show identification by NYPD officers while coming to visit her without any apparent basis. For




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example, another of Ms. Ledan's brothers, Maurice Johnson, used to visit her regularly and was

frequently stopped without cause by police officers during those visits. As a result, he is no

longer comfortable visiting Ms. Ledan at her apartment and has not done so in approximately

one year.

         80.   Ms. Ledan, Mr. Johnson, and their friends and relatives fear and face a substantial

risk of being unlawfully stopped, questioned, searched, and arrested or cited for trespassing in or

around River Park Towers by NYPD officers in the future due to the buildings' enrollment in

Operation Clean Halls.

Kieron Jolmson & Jovan Jefferson

         81.   Kieron Johnson is a 21-year-old black man who lives in the Bronx. He resides

with his wife, child, and mother-in-law at 1515 Selwyn Avenue, a building that is enrolled in

Operation Clean Halls. He has resided there for two years; prior to that he lived for almost ten

years in a private house on the same block. He is enrolled in a G.E.D. program at the nonprofit

Bronxworks.

         82.   Mr. Johnson has been unlawfully seized, searched, and arrested pursuant to

Operation Clean Halls.

         83.   Mr. Johnson is stopped, searched, and detained without cause by NYPD officers

on the block where he resides between two and six times per week. Two particular officers from

the 44th Precinct, Jolm Doe 9 (whose last name is Marquez) and John Doe 10 (whose last name

is Rodriguez), frequently stop him even though they know that he resides on the block. NYPD

officers also stop him while he is merely walking past buildings enrolled in Operation Clean

Halls.




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        84.      For example, in the summer of2011, a NYPD officer stopped and searched Mr.

Johnson while he was entering 1515 Selwyn Avenue, the building where he lives. He was

ordered to produce identification even though he told the officer that he lived in the building.

The officer took Mr. Johnson to his apartment, where his wife answered the door and verified

that Mr. Johnson lived there. The officer then departed.

        85.      Mr. Johnson's relatives and friends are sometimes stopped, questioned, and

searched without cause in and around his building while visiting him.

        86.      Mr. Johnson has also been stopped, questioned, and searched without cause by

NYPD officers numerous times while visiting friends in Clean Halls Buildings on his block. On

multiple occasions he has been unlawfully arrested or cited by NYPD officers for trespassing.

        87.      Jovan Jefferson is a 20-year-old black man who lives in the Bronx. He will soon

begin an internship at the nonprofit Bronxworks, and is also enrolled in an online university. He

lives with his mother and 13-year-old brother at 1546 Selwyn Avenue in the Bronx, a building

that is enrolled in Operation Clean Halls. Mr. Jefferson has lived in that building since he was

born.

        88.      Mr. Jefferson has been unlawfully seized, searched, and arrested pursuant to

Operation Clean Halls.

        89.      NYPD officers have frequently stationed themselves behind an elevator in the

lobby of 1546 Selwyn Avenue, emerging when someone enters the lobby through the building's

main entrance. The person who enters the lobby is typically stopped, ordered to produce

identification, questioned, and sometimes searched, cited, or arrested. NYPD officers also

routinely patrol the sidewalk immediately in front of 1546 Selwyn Avenue, where they




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frequently stop, question, and search individuals, and sometimes cite or arrest them for

trespassing.

        90.      Mr. Jefferson has been stopped without cause by police officers inside his own

building on multiple occasions, including several times by John Doe 9 and Jahn Doe 10.

Typically, the officers who stop him order him to produce identification and search him.

        91.      Mr. Jefferson's relatives and friends are frequently stopped, questioned, and

searched without cause in the lobby of his building while visiting him, sometimes even while

accompanied by Mr. Jefferson.

        92.      Approximately two to three times every month, Mr. Jefferson is unlawfully

stopped and asked for identification by NYPD officers outside his building, outside his

neighbor's buildings on his block, or while visiting friends who live in Clean Halls Buildings on

his block. The police often search him without cause during these stops. For example, one day

in early 2012 the police demanded that Mr. Jefferson take offhis shoes in the middle of the street

and searched between his toes. Mr. Jefferson is often stopped by NYPD officers while merely

walking past Clean Halls Buildings. NYPD officers also occasionally stop and question Mr.

Jefferson's 13-year-old brother on the sidewalk outside of their building.

        93.      In approximately early 2009, when Mr. Jefferson was a junior in high school,

NYPD officers arrested him for trespassing in his own building. As Mr. Jefferson retumed to his

apartment to change clothes so he could play basketball with friends, NYPD officers stopped

him without cause as he was opening the front door of his building and ordered him to produce

identification. Mr. Jefferson did not have identification with him but told the officers he lived in

the building and offered to go up to his apartment to get his identification.   The officers did not

allow Mr. Jefferson to get his identification.   They instead told him he was being "detained" for




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trespassing, handcuffed him, and placed him in a police van. Mr. Jefferson's mother leamed that

he was being arrested and ran downstairs to intervene. She pleaded with the officers, explaining

that Mr. Jefferson was her son and lived in the building. The officers told her that it was "too

late" and took Mr. Jefferson to the precinct. Mr. Jefferson spent three nights in police custody

and missed school as a result. All charges against him were dismissed.

        94.       In another incident sometime in 2009, NYPD officers unlawfully stopped,

searched, and questioned Kieran Johnson at 1546 Selwyn Avenue as he was going to visit Mr.

Jefferson. Mr. Jefferson was not home and therefore could not vouch for Mr. Johnson's standing

invitation to come over to his friend's apartment. Mr. Johnson was issued a summons for

trespassing.

        95.       In another incident in or around the summer of20l0,   John Doe 10 and other

NYPD officers again stopped Mr. Jefferson without cause in his own building. The incident

began when a friend of Mr. Jefferson's arrived to visit him and was unlawfully stopped by

NYPD officers in the lobby of Mr. Jefferson's building. Without verifying whether he was

indeed a legitimate visitor to 1546 Selwyn Avenue, these officers accused Mr. Jefferson's friend

of trespassing and handcuffed him. The friend's girlfriend saw what was happening from

outside the building and called Mr. Jefferson in his apartment to ask him to come down and help.

Mr. Jefferson rushed down to the lobby with his older brother Jamel. When Mr. Jefferson

protested to the officers that they were arresting his visitor, Jolm Doe 10 unlawfully detained and

searched him. Jamel, who is in the Navy, complained that the officers' conduct was illegal and

showed the officers his Navy identification card. Only at that point did the officers allow Mr.

Jefferson, Jamel, and the friend to leave.




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       96.      In another incident an May 3,2011, Mr. Jefferson anived at his building with Mr.

Johnson and another friend. While their friend remained outside, Mr. Jefferson and Mr. Jalms on

entered the lobby ofMr. Jefferson's building. Jolm Doe 9 and John Doe 10, along with Officer

Johnny Blasini and another officer, Jahn Doe 11, stepped out from behind the elevator in the

lobby and stopped Mr. Jefferson and Mr. Johnson without cause. Mr. Jefferson told the officers

that he lived in the building and John Doe 10 ordered him to go to his apartment. After telling

the officers that Mr. Johnson was his invited guest, Mr. Jefferson complied with the order. The

four officers then arrested Mr. Johnson for trespassing even though he had entered the building

with Mr. Jefferson, whom the officers knew was a resident. The NYPD held Mr. Johnson at the

44th Precinct for seven hours and released him with a Desk Appearance Ticket that charged him

with trespassing. Mr. Jefferson wrote a letter attesting that Mr. Johnson was his invited guest

and attended Mr. Johnson's arraignment, The trespassing charge against Mr. Johnson was

dismissed by the court on July 12, 2011.

       97.      As a result of incidents like these, Mr. Jefferson is afraid of inviting friends and

relatives to his apartment, and has largely stopped doing so.

       98.      Mr. Jefferson and his invited guests fear and face a substantial risk of being

unlawfully stopped, questioned, searched, cited and arrested in and around 1546 Selwyn Avenue

and other Clean Halls Buildings on his block by NYPD· officers in the future due to the

buildings' enrollment in Operation Clean Halls.

       99.      Mr. Johnson, his family members, and invited guests fear and face a substantial

risk of being unlawfully stopped, questioned, searched, and arrested in and around 1515 Selwyn

Avenue, 1546 Selwyn Avenue, and other Clean Halls Buildings on his block by NYPD officers




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in the future due to the buildings' enrollment in Operation Clean Halls. He is afraid to visit Mr.

Jefferson at 1515 Selwyn Avenue unless Mr. Jefferson is with him and carrying identification.

A.a.

       100.    A.a. is a l7-year-old Latino male who resides in the Bronx.

        101.   A.a. has been unlawfully seized, searched, and arrested pursuant to Operation

Clean Halls.

        102.   On February 19, 2011, A.a. and two friends met after school and visited another

friend, Mr. Justin Drinkwine, in his apartment in the Far Rockaway neighborhood of Queens.

The apartment building, which is located at 22-59 Dix Avenue, is enrolled in Operation Clean

Halls. Within minutes ofleaving Mr. Drinkwine's apartment, A.a. and his friends were

approached and stopped on the sidewalk outside 22-59 Dix Avenue by NYPD Police Officers

Gregory Lomangino and Joseph Koch. At the time, the three teenaged boys were merely

walking alongside the building and were not engaged in any activity that might indicate or imply

that criminal activity was afoot.

        103.   Officer Lomangino and Officer Koch accused the three of trespassing within the

residential apartment building located at 22-59 Dix Avenue. One of the boys explained that they

had just left 22-59 Dix Avenue where their friend resided and identified Mr. Drinkwine's

apartment number. Officer Lomangino detained A.a. and his friends on the sidewalk while

Officer Koch walked away from the group, heading in the direction of the building located at 22-

59 Dix Avenue.

        104.   During their detention and before conducting any investigation into whether A.a.

or his friends had, in fact, been visiting a friend at the Dix Avenue apartment, Officer

Lomangino told the three teenagers that they would be arrested, When A.a. and his friends




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asked why they were being arrested, Officer Lomangino pointed at the Operation Clean Halls

sign on the building and said, "You can't fucking read that sign?"

       105.    Within minutes, Officer Koch retumed, stating that he had gone into the building

at 22-59 Dix Avenue and no one had answered the door at the apartment A.O. and his friends

had identified. A.O. explained that the teenagers had just been inside the apartment, described

the various people present in the apartment, and asked whether the officer had seen those people.

P.O Koch promptly changed his story, asserting that he had spoken with a man inside the

apartment who informed him that no one had just left the apartment.

        106.   The officers then handcuffed A.O. and his friends and transported them to the

101st Precinct. The boys were held at the precinct for several hours and thereafter issued Desk

Appearance Tickets charging them with criminal trespass.

        107.   A.O. complied with the instruction on the Desk Appearance Ticket to appear in

Queens Criminal Court on March 3, 2011. When he arrived, he was informed that the Queens

County District Attomey's Office had declined to prosecute his case, as well as the cases of his

two friends.

Abdullah Tumer

        108.   Abdullah Tumer is a 24-year-old black man who lives at 2249 Morris Avenue in

the Bronx, a building that is enrolled in Operation Clean Halls. Mr. Tumer attends a G.E.D.

program and works as a volunteer at St. Bamabas Hospital in the Bronx.

        109.   Mr. Tumer has been unlawfully seized, searched, and arrested pursuant to

Operation Clean Halls.

        110.   In the early evening on March 26,2011, Mr. Turner left his apartment with his

friend Angie Trinidad to go to an engagement party at their friend Jessica' s home.




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        111.   On the way to the engagement party, they stopped at the apartment building of a

friend of Ms. Trinidad's so Ms. Trinidad could retum a sweater to that friend. That building,

which is located at 2020 Davidson Avenue in the Bronx, is enrolled in Operation Clean Halls.

        112.   Ms. Trinidad went inside the building to her friend's apartment while Mr. Turner

remained outside. Mr. Turner waited just outside the door of the building and called another

friend on his cell phone.

        113.   A few minutes after Ms. Trinidad had entered the building, three NYPD officers,

including Defendants Officer Kieron Ramdeen and John Doe 12, anived and approached Mr.

Turner without cause. One of the two defendant-officers snatched Mr. Tumer's cell phone,

which was still connected with his friend, out of his hand. The officer asked Mr. Turner what he

was doing and whether he knew someone in the building. Mr. Turner responded that he was

waiting for a friend who was inside the building. The officer ordered Mr. Turner to produce

identification, which he did. The officer looked at the identification and said that Mr. Turner did

not live at the building, to which Mr. Turner responded, "I know, I'm waiting for my friend."

That officer then went inside with another officer (not named as a defendant), taking Mr.

Turner's cell phone and identification with him.

        114.      Mr. Turner remained outside with the second defendant-officer, who continued to

question him about his presence near the building. While that officer was questioning Mr.

Turner, Ms. Trinidad came out of building, and Mr. Turner told the officer that she was the

friend for whom he was waiting. The officer then radioed the other two officers, who returned

from inside the building. The officers ordered Ms. Trinidad to show identification and

questioned her.




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        115.      While the other officers questioned Ms. Trinidad, the first defendant-officer

approached Mr. Turner, pointed to the Operation Clean Halls sign on the building, and said,

"You see that? You're trespassing."      He then handcuffed Mr. Turner and arrested him for

trespassing. At no time had Mr. Turner entered the lobby or any other part of the building.

        116.      Mr. Turner was taken to the 46th Precinct and then to Central Booking. He was

held for a total of approximately 24 hours before being released.      Mr. Turner was charged with

trespassing.

        117.      Mr. Turner appeared in court eight times before the prosecution voluntarily

dismissed the trespassing charges against him on February 28,2012.        Each appearance required

Mr. Turner to spend between three and six hours at the court and often to miss school or work.

        118.      Mr. Turner has also been subjected to police harassment in his own building due

to its enrollment in Operation Clean Halls. For example, one night in late 2011, Mr. Turner left

his apartment with his younger brother, his friend, and his friend's nephew. The four walked

through the courtyard oftheir apartment building and onto the sidewalk, on their way to a store

to buy food. Three NYPD officers watched Mr. Turner and his companions as they walked

through the courtyard and the officers approached them once they reached the sidewalk. The

officers stopped them and asked what they were doing in the courtyard. Mr. Turner told the

officers that he lived in the building, but the officers told him and his companions that they were

not allowed to stand in the courtyard. The officers further stated that they were going to leave

and then return shortly and that the four had better not be in the courtyard when the officers

returned. Mr. Turner and his companions then proceeded to walk to the store as they had

intended, and the officers followed slowly in a car until they entered the store.




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         119.   Mr. Turner and his friends and relatives fear and face a substantial risk of being

unlawfully stopped, questioned and arrested or cited for trespassing in or around 2249 Morris

Avenue by NYPD officers in the future due to the building's enrollment in Operation Clean

Halls.

Fernando Moronta

         120.   Fernando Moronta is a 35-year-old Latino man who resides at 2035 Marmion

Avenue in the Bronx, a building that is enrolled in Operation Clean Halls. Mr. Moronta works as

a store manager.

         121.   Mr. Moronta has been unlawfully seized, searched, and arrested pursuant to

Operation Clean Halls.

         122.   On the afternoon of December 6, 2010, Mr. Moronta was walking home carrying

pizza for dÍ1U1erwith his girlfriend. Mr. Moronta ran into a friend outside ofthe friend's

apartment building at 2082 Crotona Parkway, a building around the corner from his own home

that is also enrolled in Operation Clean Halls. Mr. Moronta said hello and shook his friend's

hand as the friend entered the building. Mr. Moronta did not enter the building.

         123.   NYPD officer Joseph Bermudez then approached Mr. Moronta and asked, "What

did you just sell him?" The officer told him that he did not care about marijuana, just crack and

heroin. Mr. Moronta responded that he had not sold his friend anything and that he did not have

any drugs on him. The officer then frisked Mr. Moronta and searched his pockets three times

without any justification.   He then ordered him to "go inside" to the lobby of 2082 Crotona

Parkway. Mr. Moronta complied with the order and entered the lobby.

         124.   Once inside, the officer ordered Mr. Moronta to sit on the ground. Two other

NYPD officers in the lobby stopped and searched two other people. After a few minutes, Officer




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Bermudez told him to stand up with his hands against the wall. Mr. Maranta complied, and the

officer searched him again.

        125.   At that point, Mr. Maranta became upset that he was being harassed and asked

Officer Bermudez why he was treating him that way. Mr. Moronta reiterated that he did not

have any drugs and even took offhis shoes to demonstrate to the officer that he was not hiding

any contraband. Officer Bermudez then cursed at Mr. Moranta, handcuffed him, and told him he

was under arrest for trespassing.

        126.   At no time during the course of this encounter did Officer Bermudez find any

contraband on Mr. Maranta. At no time did Mr. Maranta enter the building except when he was

ordered to do so by Officer Bermudez.

        127.   Mr. Maranta was taken to the 48th Precinct and then to Central Booking. He was

held for a total of approximately 24 hours before being released.

        128.   Mr. Maranta was charged with trespassing. He pled not guilty, and after ten court

appearances his case was adjourned in contemplation of dismissal with immediate sealing on

December 14,2011.

        129.   On another occasion, in the winter of 20 10, Mr. Moronta visited his brother at his

brother's apartment at 1453 Walton Avenue, a building that is enrolled in Operation Clean Halls.

Immediately after Mr. Maranta exited the building, NYPD officers pulled up in a vehicle,

stopped him without cause, and asked what he was doing in the building. Mr. Maranta

responded that he had visited his brother. The officers asked where his brother lived, and Mr.

Maranta told them the apartment number.

        130.   The officers then ordered Mr. Maranta to accompany them to his brother's

apartment to verify that he had been visiting his brother. Mr. Maranta took the elevator with




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approximately six officers to his brother's apartment on the sixth floor, where his brother

verified that Mr. Moronta was in fact his brother and had just visited him. The officers then

accompanied Mr. Moronta back downstairs and allowed him to leave. Mr. Moronta was not

charged with any offense.

        131.    Mr. Moronta has also been unlawfully stopped outside of his own apartment

building on several occasions. During such stops, officers typically ask him what he is doing and

why he is standing in front of his building, and allow him to leave only once they are satisfied

with his justification for his presence.

        132.    Mr. Moronta and his friends and relatives face a substantial risk of being

unlawfully stopped, questioned, searched, and arrested or cited for trespassing in or around 2035

Mannion Avenue by NYPD officers in the future due to the building's enrollment in Operation

Clean Halls.

Charles Bradley

        133.    Charles Bradley is a 52-year-old black man who lives in the Bronx. He holds a

security guard license issued by New York State and worked as a security officer at an apartment

complex in the Bronx until January 2012. He is currently training for a new job.

        134.    Mr. Bradley has been unlawfully seized, searched, and arrested pursuant to

Operation Clean Halls.

        135.    Mr. Bradley's former fiancée resides at 1527 Taylor Avenue in the Bronx, a

building that is enrolled in Operation Clean Halls. Mr. Bradley previously lived with his fiancée

in that building but has since moved to his own apartment.

        136.    On May 3, 2011, Mr. Bradley made arrangements to meet his fiancée at her

apartment. Around 5:00 p.m. that day, Mr. Bradley went to her building. Another tenant who




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knew Mr. Bradley unlocked the door for him. Mr. Bradley proceeded to his fiancee's apartment

on the fifth floor. He knocked on the apartment door, but there was no answer. Mr. Bradley

then left the building and went outside. Mr. Bradley waited on the sidewalk outside of the

building.

        137.   While Mr. Bradley was waiting for his fiancée to arrive home, an NYPD van

drove up and stopped in front ofthe building. Police Officer Miguel Santiago, who was seated

in the van, whistled at Mr. Bradley and ordered him to approach the van. Mr. Bradley walked

toward the police van.

        138.   Officer Santiago asked Mr. Bradley what he was doing. Mr. Bradley responded

that he was visiting his fiancée. Officer Santiago then searched through Mr. Bradley's pockets

and ordered him to produce identification.   Mr. Bradley said that he was a security officer and

did not have anything on him. Officer Santiago then said, "You want to act like a fucking

animal? Fuck that. You're going inside." He then arrested Mr. Bradley for trespassing.

        139.   Mr. Bradley was put in the police van and brought to the 43rd Precinct, where

Officer Santiago strip-searched him. He was held for approximately three hours and then issued

a Desk Appearance Ticket that charged him with trespassing.

        140.   Shortly after his arrest, Mr. Bradley feared that his job as a security guard was in

jeopardy because the New York Department of State, which had issued his security guard

license, sent him a letter indicating that he would be deemed ineligible to register as a security

guard ifhe did not submit documentation of the status of his trespassing prosecution within 30

days. lfhe became ineligible to register as a security guard, Mr. Bradley would have been fired

by his employer.




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        141.   Mr. Bradley was required to visit the Bronx District Attomey' s office to request

that his case be heard as soon as possible so he could ensure that his security guard license would

not be jeopardized.   He submitted to the District Attomey a letter from his fiancée indicating that

she lived at 1527 Taylor Avenue and that Mr. Bradley had been there to visit her when he was

arrested. The Bronx District Attomey declined to prosecute the case on July 13, 2011.

        142.    Shortly thereafter, Mr. Bradley secured documentation from the criminal court

indicating that the case had been dismissed. He then went to his employer's office in Manhattan,

where he presented the certificate of disposition to his employer's human resources department

to ensure that his job was no longer endangered by his an-est.

        143.    Each of the Plaintiffs has been injured proximately and directly by the

Defendants, including being subjected to unlawful seizures, searches, and false charges,

deprivation of liberty, interference with intimate relationships, infringement of their right to

enjoy housing and to receive municipal services related to housing.

       The NYPD Has a Practice of Stopping, Questioning, Searching, and Arresting
        Residents of Clean Halls Buildings and their Visitors Without Justification

        144.    The experiences of the individual Plaintiffs do not constitute isolated incidents.

Rather, they are part of a larger pattem and practice that exists within private residential

buildings enrolled in Operation Clean Halls. The challenged policies and practices are so

widespread and frequent as to constitute a custom and usage of the NYPD.

        145.    The City of New York and Commissioner Kelly (together, "City-Defendants")

have enforced, promoted, authorized, and sanctioned the NYPD' s customs and practices of

stopping, questioning, searching, arresting, and citing individuals, including residents, for their

mere presence in and around Clean Halls Buildings.




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            146.   NYPD officers frequently conduct suspicionless stops of people they encounter in

the lobbies, vestibules, hallways, stairwells, courtyards, and other common areas in and around

Clean Halls Buildings. In some Clean Halls Buildings, NYPD officers establish de facto illegal

residential checkpoints at times, stopping virtually all people who enter or exit the buildings,

including residents, and requiring them show identification as they enter or exit the lobby,

subject themselves to a frisk or search, and justify their presence in the building to NYPD

officers.

            147.   NYPD officers also frequently stop people on sidewalks simply because they

have exited a Clean Halls Building, are entering a Clean Halls Building, or are merely standing

or walking near a Clean Halls Building. During such stops, the individual is ordered to show

identification, searched, and questioned about his presence in or around the building.

            148.   A report issued by a district attorney's office concerning a shooting that took

place in a Clean Halls Building confirms that NYPD officers make suspicionless stops in and

around Clean Halls Buildings. It describes NYPD practices as follows: "Authority for

[Operation Clean Halls] depends upon consent by a landlord or a group of tenants that allows

police to enter a particular building and the immediate area and to stop anyone found there and

ask for identification.    In carrying out Operation Clean Halls, the police go up and down the

stairways in a building and around the grounds, stop all who are found, question them as to why

they are in the building or on the grounds, and ask for identification showing that they live on the

premises or for an apartment number to verify a legitimate visit." (emphases added).

            149.   Data collected by the NYPD on "stop, question, and frisk" activity, including in

Clean Halls Buildings, confirm that tens of thousands of stops for trespassing are reported

annually. According to NYPD data, police officers made 329,446 stops of individuals upon




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suspicion of trespassing between 2006 and 2010, representing approximately 12.2% of all

reported stops. Upon information and belief, NYPD officers made many additional stops of

individuals upon suspicion of trespassing during that period of time that were not reported.

        150.     Only 7.7% of reported trespass stops resulted in arrest and approximately 4.9% in

the issuance of a summons. Weapons were found in only 0.2% of reported trespass stops-

compared to 1.1% of reported stops made on suspicion of any other crime-and           contraband was

found in only 1.8% of reported trespass stops.

        151.     In the 10 precincts with the most reported stops made upon suspicion of

trespassing in 2010, at least 28,209 such stops were made-nearly      as many trespassing stops as

the City's remaining 66 precincts combined. In the Bronx's 40th Precinct alone, police officers

reported stopping over 5,000 people upon suspicion of trespassing that year. Suspicion of

trespassing provided the basis for nearly 30% of all reported stops in the 40th Precinct.

        152.     A recent survey of men in the South Bronx found that residents of Clean Halls

Buildings are routinely stopped by police officers in their own buildings. In October 2011 the

Daily News questioned men of color on the street in three Bronx neighborhoods about their

encounters with NYPD officers. A "resounding complaint" concerned patrols by NYPD officers

in Clean Halls Buildings, during which "cops patrolling apartment buildings ask to see entrants'

keys or IDs to make sure they are residents." One man described his recent stop by NYPD

officers-while    he was putting his key into the front door of his building-during    which he was

questioned as to his identity and forced to show identification.   Another 17-year-old similarly

described a recent stop that took place when he was walking into his own building, during which

police officers searched his pockets.




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        153.     At a New York City Council hearing held on September 28,2010, officials ofthe

Civilian Complaint Review Board ("CCRB"), the New York City agency responsible for

investigating civilian complaint about police misconduct, presented data indicating that

complaints concerning stops by NYPD officers in NYCHA Residences and Clean Halls

Buildings were substantiated at a significantly higher rate than other complaints. The testimony

of Mitchell G. Taylor, Board Member of the CCRB, indicated that the CCRB noticed "an

escalation in complaints" concerning improper stops and questioning by NYPD officers in and

around NYCHA Residences and Clean Halls Buildings. He further testified that a review of all

complaints concerning police misconduct received between July 1,2008 and November 10,2009

revealed 237 complaints concerning stops by NYPD officers in NYCHA Residences and

buildings enrolled in Operation Clean Halls. Ofthose that were fully investigated, 32 percent

were substantiated, while only 11 percent of complaints concerning stops in other locations were

substantiated.

        154.     People who are stopped by NYPD officers are routinely frisked and fully searched

without adequate cause.

        155.     It is not uncommon for NYPD officers to issue summonses for trespassing to

people they stop inside and just outside of Clean Halls Buildings even though there is no

probable cause to believe that the stopped person has committed any crime or violation. In 2010,

the NYPD filed in court more than 15,800 summonses charging trespass. Upon information and

belief, many of those summonses related to Clean Halls Buildings.

        156.     Although only a tiny percentage of rep orted trespass stops lead to arrests or

summonses, thousands are arrested for trespassing in New York City annually. Upon




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information and belief, a substantial percentage of such arrests take place in Clean Halls

Buildings.

        157.    Residents of Clean Halls Buildings and their guests are sometimes arrested solely

for failure to produce identification that matches the address of the building. Some are

individuals who enter a Clean Halls building with the intent of visiting someone who tums out to

not be at home; others are arrested based solely on their mere presence in or around Clean Halls

Buildings. At times, individuals are arrested because they only know their friend's first name or

nickname or know the apartment only by the location rather than by number. Further, upon

information and belief, those who remain silent upon questioning by NYPD officers are routinely

arrested or issued a summons for trespassing.

        158.    A police officer stationed in the Bronx's 46th Precinct described stops and arrests

for trespassing as "standard practice" in Clean Halls Buildings. In swam deposition testimony

provided in 2008, Police Officer Robert Bamett described Operation Clean Halls as follows:

"Landlords sign up to have us patrol their buildings periodically and we're permitted to ask

people coming in and out what their business is. If they cannot answer where they are coming

from, we place them under arrest for criminal trespass." The officer further affirmed that it was

"typical" for officers to arrest people for trespassing under these circumstances in the 46th

precinct and throughout New York City.

        159.    This description underscores that stops conducted pursuant to Operation Clean

Halls are regularly conducted without any suspicion of wrongdoing and that the outcome of an

encounter with an NYPD officer in a Clean Halls building-either      free to go about one's

business or placed under arrest-tums    on whether an officer is satisfied with a person's

explanation for his presence in the building.




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       160.    In October 2006 NYPD Sergeant Reginald McReynolds was stopped in the

stairwell of his girlfriend's apartment building, which is enrolled in Operation Clean Halls, while

returning to her apartment with a take-out Chinese food order. One officer asked Sergeant

McReynolds, "What fucking apartment are you going to?" McReynolds indicated that he was

going to his girlfriend's apartment, and the officers threatened to arrest him for trespassing.

Ivelisse Cruz, McReynolds' girlfriend, took pictures of the incident as it unfolded and called 911.

Sergeant McReynolds's arrest was reported by major media outlets, including the New York

Daily News, and CNN.

        161.   Since 2007 there have been at least 16,000 misdemeanor arrests for trespass in

N ew York City annually, making it one of the highest-volume crimes charged in the City.

Between 2007 and 20 10, over 37 percent of the criminal cases stemming from those arrests were

resolved in favor of the accused, including dismissals, acquittals, or declination to prosecute.

Upon information and belief, criminal cases that are opened against individuals arrested for

trespass in New York City are dismissed at a high rate relative to similar crimes.

        162.   Given the high number of false arrests for trespassing, the criminal complaints

and summonses filed in trespassing cases often lack sufficient detail to support a prosecution. As

a result, New York City Criminal Court judges routinely dismiss as facially insufficient criminal

court complaints and summonses charging individuals with criminal trespass in Clean Halls

Buildings. Over four years ago, a Bronx County Supreme Court justice characterized the custom

of unlawful trespassing arrests in Clean Halls Buildings as a "dreadful practice," whereby

"[s]ome people get arrested simply for being in the lobby of a residential building in which they

do not reside." The court further recognized the "unacceptable harm" that results from unlawful

trespass arrests, including inconvenience, humiliation, lengthy pre-arraignment imprisonments,




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and a "level of intrusion upon freedom [that] is unacceptable, especially when it appears to be a

result of an unlawful arrest" and specifically appealed to the NYPD to "better train its officers in

the realm of Criminal Trespass so that only true trespassers will be arrested, and innocents will

be spared." Over three years ago, another Bronx County court likewise noted that there are "far

too many occasions where the trespass arrests are not justified and innocent individuals are

simply caught in a trap while going about their everyday lives in a perfectly legal way." In both

cases the court admonished prosecutors that innocent activities, such as "paying an unannounced

visit to a friend," "having a standing invitation to visit a friend or relative," and being "in a lobby

of a building that you don't live in" constitute lawful activities that do not support an arrest for

criminal trespass.

        163.    Trespassing cases resulting from arrests in or around Clean Halls Buildings are

also frequently not pursued after arrest because prosecutors decline to prosecute them. In many

cases, prosecutors decline to prosecute individuals arrested for trespassing in or around Clean

Halls Buildings because the initial stop and detention is unlawful, such as when it is premised

upon mere presence in or around the building, rather than suspicious behavior. NYPD officers

also frequently fail to supply information that is sufficiently detailed to support criminal

prosecution. According to a 2009 law review article, from 2005 to 2008, prosecutors declined to

prosecute 11.2% of trespass cases-the     fifth-highest declination rate among the 19 highest-

volume crimes in New York City. In 2011 prosecutors declined to prosecute over 13% of people

arrested for trespassing in New York City.

        164.    Upon information and belief, a substantial number of trespassing arrests that take

place in and around Clean Halls Buildings are made without probable cause of any unlawful

conduct.




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        165.   The stop, question, search, citation, and arrest practices ofNYPD officers in and

around Clean Halls Buildings are so customary as to constitute official municipal policy. Many

residents of Clean Halls Buildings are subjected to these practices on a routine basis, including

some who are stopped, questioned, and searched nearly every day. These practices constitute

just one part of a citywide phenomenon of systematic suspicionless stops and arrests of

individuals in and around certain low-income areas. The other locus of such activity is,

collectively, the residential apartment buildings owned and operated by the New York City

Housing Authority.

        166.    As a result of these practices, all residents of Clean Halls Buildings, their guests,

and others in close proximity to the buildings are at risk of being stopped, questioned, searched,

and even arrested or cited for trespassing for mere presence in or around a Clean Halls Buildings

without suspicion of any criminal activity. In certain Clean Halls Buildings where the NYPD

regularly deploys officers, residents, their visitors, and others in the vicinity are at heightened

risk of being subjected to these practices.

        167.    The NYPD' s practices of stopping, questioning, searching, and arresting

individuals in Clean Halls Buildings interfere with the ability of residents and their guests to

maintain intimate relationships, and with the ability of residents to freely entertain guests in their

homes. For example, many residents of Clean Halls Buildings feel that they are unable to extend

standing invitations to visit to friends and family members because they may be unable to justify

their presence in the building to police officers. Further, many residents' friends and family

members are less likely to visit Clean Halls Buildings because they fear being stopped and

harassed by NYPD officers.




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       The NYPD's Unlawful Stop, Question, Search, Citation, and Arrest Practices
       In and Around Clean Halls Buildings Result from Improper and Inadequate
                              Training and Supervision

       168.    Unlawful stops, searches, summonses and trespassing arrests in and around Clean

Halls Buildings result from the improper training and instruction ofNYPD officers on the

appropriate bases for those actions. For example, upon information and belief, the NYPD trains

officers to stop and question any person they encounter in a Clean Halls Building-even       if there

are no additional facts that make the person's presence in the building suspicious. Further, the

NYPD has failed to implement any safeguards against unlawful arrests or citations in connection

with Operation Clean Halls.

       169.    NYPD officers frequently fail to conduct investigations that are sufficient to

determine whether there is probable cause to arrest individuals they encounter in Clean Halls

Buildings. For example, when a stopped individual tells NYPD officers that he was visiting a

friend in a particular apartment, the officers often refuse to accompany the stopped person to the

apartment and confirm the stopped person's account. It is not uncommon for one officer to

remain with the stopped person and another officer to say that he will go to the apartment

identified by the stopped person as the one he was visiting. The officer who claims that he will

go to the apartment does not actually go the apartment but returns quickly and says that no one

answered the door at the apartment or that the person who answered did not confirm

acquaintance with the stopped person. The stopped person is then placed under arrest.

       170.    In addition, the NYPD does not provide sufficient training to officers on

conducting adequate investigations prior to arrest for trespassing. Upon information and belief,

NYPD officers who patrol in and around Clean Halls Buildings are trained and instructed that

when a person who has been asked or ordered to show identification or otherwise justify his




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presence in a Clean Halls building and the person refuses or declines to do so, such a response

constitutes probable cause that the individual is trespassing.

        171.   The inadequacy ofNYPD officers' training and supervision are only magnified

by the longstanding intense pressure on individual police officers to meet monthly numerical

targets for stops, arrests and the issuance of summonses. Most recently, Defendant

Commissioner Kelly directed the release ofNYPD Operations Order No. 52, which explicitly

endorses the use of "performance objectives." These "performance objectives" pressure police

officers to stop, cite and arrest people without regard for the applicable legal standards. This

pressure is not balanced by adequate training on legal standards.

        172.   Operation Clean Halls includes insufficient safeguards to ensure that people are

not wrongfully arrested or cited. For example, although Clean Halls affidavits state that tenant

rosters of enrolled buildings must be provided to the NYPD, many are not. Even if landlords or

managing agents agree to do so, it is not uncommon for them to fail to update them when tenants

move into or out of the building. Moreover, rosters that are provided frequently fail to list

residents who are not named on a lease, such as teenaged children.

        173.   NYPD officers sometimes-although         rarely-review   tenant rosters or consult

with managing agents to ascertain whether a detained person is a resident of the building, but

these practices do not enable NYPD officers to accurately identify lawful visitors to Clean Halls

Buildings. Of course, no tenant roster could identity other people who may be lawfully present

in a Clean Halls Building, such as residents' visitors or delivery people. Similarly, residents'

nicknames, by which some invited guests might know them, are highly unlikely to be listed on

tenant rosters. As a result, an NYPD's officer review of a tenant roster is insufficient to establish

probable cause for trespassing.




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                   Deliberate Indifference in Failure to Train and Supervise

       174.    City-Defendants have been aware of the incidents described above and the stop,

question, search, and arrest practices ofNYPD officers in and around Clean Halls Buildings for

several years. Yet City-Defendants have been deliberately indifferent to these practices and have

not attempted to remedy them.

       175.    City-Defendants have received notice of the NYPD's stop, question, search, and

arrest practices in Clean Halls Buildings. City-Defendants are aware of the CCRB review of

complaints lodged in connection with stops in Clean Halls Buildings that revealed a high

substantiation rate compared to stops at other locations. City-Defendants are also aware of the

high rate of declinations to prosecute trespass arrestees, the judicial admonitions relaying the

high frequency of baseless and unlawful trespass arrests, and the class action litigation, Davis v.

City of New York, No. 1O-cv-699, that has been pending in the Southern District of New York

since January 2010 and challenges the NYPD's stop, question, search, and arrest practices in

NYCHA Residences, which are virtually identical to those at issue in Clean Halls Buildings.

        176.   City-Defendants responded to complaints about suspicionless stops, searches,

detentions, interrogations, and arrests in NYCHA Residences by amending the sections of the

NYPD Patrol Guide, the NYPD' s official set of policies governing police actions, that address

vertical patrols and investigations into trespassing in NYCHA Residences. The NYPD also

instituted limited training of police officers who patrol NYCHA Residences. The NYPD has not

taken any ofthose minimal steps to address the problems with its policies and practices in Clean

Halls Buildings.




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        177.    Until June 2010, the sections ofthe NYPD Patrol Guide that governed the use of

vertical patrols in Clean Halls Buildings on one hand, and NYCHA Residences on the other,

were virtually indistinguishable.

        178.    Section 212-59 of the Patrol Guide, which remains in effect, governs vertical

patrols in Clean Halls Buildings. It directs commanding officers to "[o Jbtain permission of

building owner/authorized agent to conduct vertical patrol when private property is involved"

and provides that unifonned patrol officers should "[c Jonduct vertical patrol of assigned location

and take appropriate police action."

        179.    Section 212-59 of the Patrol Guide also simply directs unifornled patrol officers

to "[c [onduct vertical patrol of assigned location and take appropriate police action." Section

212-60 of the Patrol Guide, which is listed as a "related procedure" and was in effect until June

2010 and concerning vertical patrols in NYCHA Residences, similarly directed uniformed patrol

officers to "[b Je alert for persons loitering within the buildings, or suspicious conditions," and to

"take note of unauthorized persons remaining in lobbies, basements, stair cases and rooflandings

and take appropriate police action when necessary." Neither section provides any guidance as to

the factors an officer may consider in determining whether a person may be lawfully stopped,

seized, questioned, searched, or arrested for trespass, or the steps an officer should take when

conducting an investigation into trespassing.

        180.    On June 8, 2010, the NYPD issued Interim Order No. 23 ("Interim Order"),

which addresses vertical patrols in NYCHA Residences and which superseded Section 212-60.

The Interim Order provides that "an officer may not stop (temporarily detain) a suspected

trespasser unless the officer reasonably suspects that the person is in the building without

authority." It further provides that following a stop an officer should "[aJpproach the persones)




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and ask; (1) Ifhe or she lives in the building (2) If he or she is visiting someone in the building

(3) Ifhe or she has business in the building." The Interim Order also directs as follows: "When a

person's authority to be present in the building is in question, take reasonable measures to verify

such authority (e.g., asking for identification, a key to the building entrance doors, etc.)." The

Interim Order directs, "If a person refuses to explain or is unable to explain his or her presence in

the building, the officer may instruct the person that he or she must leave the building or be

subject to arrest for trespass. The officer may then arrest the person for trespass if: (1) The

person refuses to exit the building and does not promptly establish a right to be in the building."

The NYPD began training officers to comply with the Interim Order in the fall of 2010.

        181.    There have not been any changes to the NYPD Patrol Guide sections addressing

vertical patrols conducted pursuant to Operation Clean Halls in at least ten years. Upon

information and belief, the NYPD has not conducted any specialized training concerning

officers' authority to stop, question, search, and arrest any individuals upon suspicion of

trespassing. Further, NYPD officers in Clean Halls Buildings frequently arrest or cite

individuals for trespassing without giving them the opportunity to either exit the building or

establish a right to be in the building.

        182.    The NYPD Patrol Guide provides no guidance to NYPD officers conducting

vertical patrols pursuant to Operation Clean Halls on who is to be stopped, seized, questioned,

searched, or arrested for trespass. The only guidance provided to NYPD officers in connection

with Operation Clean Halls is consistent with, and reflective of, a policy, practice, and custom of

stops and arrests for trespassing based on insufficient cause.

        183.    City-Defendants have failed to make meaningful attempts to improve the training

and supervision ofNYPD officers who conduct vertical patrols and stop, question, search and




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arrest people in buildings enrolled in Operation Clean Halls. In contrast, City-Defendants have

recognized the need for training of police officers who patrol NYCHA Residences on the

appropriate standard for stopping individuals upon suspicion of trespassing as well as steps

officers should take to investigate suspicions of trespassing.

        184.   Upon information and belief, the current training program does not include

sufficient instruction on the elements of the offenses concerning trespassing in New York's

Penal Law or the proper standards for and extent of frisks and searches. In particular, the current

training program does not make clear that mere presence in or around a Clean Halls Building

does not provide a sufficient basis to stop an individual and that mere presence in a Clean Halls

building without identification that lists a matching address is insufficient to provide probable

cause for arrest. Further, NYPD officers are not instructed that investigation of infannatian

provided by an individual suspected of trespassing concerning the identity or location of the

resident he or she claims to be visiting is required to establish probable cause for arrest.

        185.   City-Defendants have failed to supervise and discipline NYPD officers who

unlawfully stop, question, seize, search, and arrest individuals for trespassing. Upon information

and belief, City-Defendants do not monitor improper stops, seizures, and searches for trespassing

in Clean Halls Buildings. Nor have City-Defendants instituted any follow up procedure or

disciplinary action when charges are dismissed or where it is otherwise established that an

individual was arrested without probable cause.

     The NYPD's Clean Halls Program Has a Disparate Impact on Blacks and Latinos

        186.   The NYPD administers Operation Clean Halls and targets its stop, question,

search, citation, and arrest activities in Clean Halls Buildings in a maimer that has a disparate

impact on blacks and Latinos as compared to whites.




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        187.    The NYPD is responsible for enrolling buildings in the program in every borough,

except Manhattan, where the District Attorney's office does so. There is no centralized oversight

of Operation Clean Halls by City-Defendants or their designees. Upon information and belief,

no single list of all buildings enrolled in the program exists.

        188.     Although the purported purpose of Operation Clean Halls is to combat illegal

activity in apartment buildings, buildings are enrolled and remain in the program without regard

to whether there is sustained or substantial crime in the building. For example, Clean Halls

Buildings in the Bronx are enrolled "into perpetuity."    Therefore, residents of Clean Halls

Buildings, their guests, and even people on sidewalks outside of Clean Halls Buildings are at risk

of being subjected to the NYPD's practices of stopping, questioning, searching, citing, and

arresting people without the requisite level of suspicion even though their buildings are not

necessarily locations with sustained or substantial criminal activity.

        189.   Upon information and belief, the residents of all Clean Halls Buildings are

disproportionately black and Latino as compared to the population of New York City as a whole.

Further, NYPD officers are more likely to be deployed to certain Clean Halls Buildings where

they aggressively stop, question, search, and an-est people they encounter in and around the

buildings. Upon information and belief, residents of those buildings are disproportionately black

and Latino as compared to all residents of Clean Halls Buildings and to the population of New

York City as a whole. As a result, the NYPD' s stop, question, search, citation, and an-est

practices in and around Clean Halls Buildings have a significant disparate impact on blacks and

Latinos in their enjoyment of housing and in their receipt of municipal services connected with

housing.




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       190.    NYPD data reveal that the NYPD's trespass stop practices have a disparate

impact on blacks and Latinos. Blacks and Latinos are more likely than whites to be stopped by

NYPD officers 'on suspicion of trespassing, and blacks and Latinos comprise a higher percentage

of people stopped for trespassing than of people stopped on suspicion of all other crimes.

       191.    From 2006 to 2010, approximately 94.4% of those stopped for trespassing were

black and Latino, although blacks and Latinos comprised approximately 52% of the New York

City population. By contrast, for stops made on suspicion of all crimes other than trespassing

between2006   and 2010,84.9% of those stopped were black and Latino. From2006 through

20 l O, only 4% of those stopped on suspicion of trespassing were white, although non- Latino

whites comprised approximately 33% of the New York City population.

       192.    Thus, from2006 through 2010, blacks and Latinos in the City were six times

more likely to be stopped for any reason by police than whites, Asians, and Native Americans

combined, but 16 times more likely to be stopped on suspicion of trespassing than whites,

Asians, and Native Americans combined.

       193.    Between2003    and 2011, a disproportionate number of blacks and Latinos were

also arrested for trespass in New York City. During that period, blacks and Latinos constituted

over 90 percent ofthose arrested for trespassing; blacks were 12 times, and Latinos 7 times,

more likely to be arrested for trespassing than whites, Asians and Native Americans combined.

       194.    Upon information and belief, these data encompass a significant number of stops

and arrests made in and around Clean Halls Buildings and reflect the disparate impact ofthe

NYPD's Clean Halls practices on blacks and Latinos.

       195.    The NYPD has a long history of conducting excessive stops in New York City

neighborhoods largely populated by racial minorities. In 1999, for example, the Office ofthe




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N ew York State Attomey General reported that stops by NYPD officers in predominately

minority precincts in New York City occurred at a significantly higher rate than stops in

predominately white precincts. The report also found that when stops did occur in white

neighborhoods, the disparity between racial minority and white stop rates in those neighborhoods

was pronounced.

        196.    The numbers of stops by the NYPD has continued to increase, to an all-time high

of 685,724 reported stops in 2011. The racial disparities also continue. Blacks and Latinos

comprised 87 percent of all reported stops and 94 percent of all reported stops on suspicion of

trespassing by the NYPD in 2011.


                               CLASS ACTION ALLEGATIONS

        197.    Pursuant to Federal Rule of Civil Procedure 23(a) and (b)(2), Plaintiffs will ask

the Court to certify as a class all residents of Clean Halls Buildings; all individuals, including

family members, guests, and visitors of residents of Clean Halls Buildings, who seek to visit a

resident of a Clean Halls Building; and all individuals who have been or are likely to be

unlawfully stopped or arrested as a result oftheir presence in or around Clean Halls Buildings.

All of these people are at risk of being stopped, questioned, searched, cited, and arrested as a

result of City-Defendants' policies and practices.

        198.    This action satisfies all four requirements of Rule 23(a):

        a.      Numerosity: Joinder of all class members is impracticable because ofthe size of

the class and the fact that the class includes some members who Calmat be identified with any

degree of specificity. Upon information and belief, tens of thousands of residents of Clean Halls

Buildings and visitors of residents of Clean Halls Buildings have either been subjected to the




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challenged policies and practices or are at risk of being subjected to the challenged policies and

practices.

        b.      Commonality: There are questions oflaw and fact common to all members of the

class, including, but not limited to, whether City-Defendants maintain a policy and practice of

unlawfully seizing, searching, citing, and arresting residents of Clean Halls Buildings, their

guests and others in violation of federal and state law.

        c.      Typicality: The claims of the Named Plaintiffs are typical of those of the class.

Each named plaintiff has been subjected to the challenged policies and practices by virtue of his

or her status as a resident, or visitor of a resident, of a building enrolled in Operation Clean

Halls, or simply by virtue of having been in the vicinity of a Clean Halls Building.

        d.      Adequacy of Representation: The Named Plaintiffs and class counsel will fairly

and adequately represent the interests of the class. The Named Plaintiffs have no interests in this

matter that are antagonistic to other class members. Class counsel has many years of experience

in civil rights and class action litigation.

         199.   Class-wide declaratory and injunctive relief is appropriate under Rule 23(b)(2)

because City-Defendants have acted or refused to act on grounds generally applicable to the class

as a whole.

                                   JURISDICTION AND VENUE

        200.    This action is authorized by 42 U.S.C. §§ 1983 and 3613(a). Subject matter

jurisdiction is conferred on this Court by 28 U.S.c. §§ 1331, 1343(a)(3), 1343(a)(4), and

1367(a).

        201.    Pursuant to 28 U.S.C. §§ 2201 and 2202, this COUlihas jurisdiction to declare the

rights of the parties and to grant all further relief deemed necessary and proper. Rule 65 of the




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Federal Rules of Civil Procedure authorizes injunctive relief. This Court has authority to award

costs and attorneys' fees under 42 U.S.C. §§ 1988 and 3613(c)(2).

         202.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because it

is the district in which a substantial part of the events or omissions giving rise to the Plaintiffs'

claims occurred.

                                      CLAIMS FOR RELIEF

                            FIRST CAUSE OF ACTION:
        VIOLATIONS OF THE FOURTH AMENDMENT TO THE U.S. CONSTITUTION

         203.   As a direct and proximate result of the acts and omissions of the Defendants, the

Plaintiffs and members of the class they seek to represent have been deprived of their rights

under the Fourth Amendment to the United States Constitution and 42 U.S.C. § 1983.

                      SECOND CAUSE OF ACTION:
 INFRINGEMENTS OF THE RIGHTS OF INTIMATE ASSOCIATION, ASSEMBLY, AND
  SUBSTANTIVE DUE PROCESS IN VIOLATION OF THE FIRST AND FOURTEENTH
                AMENDMENTS TO THE U.S. CONSTITUTION

         204.   As a direct and proximate result of the acts and omissions of the Defendants, the

Plaintiffs and members of the class they seek to represent have been deprived of their rights

under the First and Fourteenth Amendments to the United States Constitution and 42 U.S.C. §

1983.

                           THIRD CAUSE OF ACTION:
         DISCRIMINATORY IMPLEMENTATION OF OPERATION CLEAN HALLS
                    IN VIOLATION OF THE FAIR HOUSING ACT

         205.   As a direct and proximate result of the acts and omissions of City-Defendants, the

Plaintiffs and members of the class they seek to represent have been deprived of their rights on

the basis of race or national origin in violation of the Fair Housing Act, Title VIIlofthe     Civil

Rights Act of 1968,42 U.S.C. §§ 3601-3617.




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                        FOURTH CAUSE OF ACTION:
    VIOLATIONS OF ARTICLE 1, SECTION 12 OF THE NEW YORK CONSTITUTION

           206.   As a direct and proximate result of the acts and omissions of the Defendants, the

Plaintiffs and members ofthe class they seek to represent have been deprived of their rights

under Article l, Section 120fthe New York Constitution.

           207.   The unlawful stops, searches, false arrests, and false imprisomnents of the

Plaintiffs were the direct and proximate result of a policy or practice ofthe City.

                          FIFTH CAUSE OF ACTION:
     VIOLATIONS OF ARTICLE I, SECTION 8 OF THE NEW YORK CONSTITUTION

           208.   As a direct and proximate result of the acts and omissions of the Defendants, the

Plaintiffs and members of the class they seek to represent have been deprived of their rights

under Article l, Section 8 of the New York Constitution.

                              SIXTH CAUSE OF ACTION:
             FALSE ARREST, FALSE IMPRISONMENT, ASSAULT AND BATTERY
                     IN VIOLATION OF NEW YORK COMMON LAW

           209.   As a direct and proximate result of the acts and omissions of the Defendants, the

Plaintiffs and members of the class they seek to represent have been deprived of their rights

under New York common law to be free from false arrest, false imprisomnent, assault, and

battery.

                       SEVENTH CAUSE OF ACTION:
      MALICIOUS PROSECUTION IN VIOLATION OF NEW YORK COMMON LAW

           210.   Police Officers John Does 5-6 charged J.G. and W.B. with trespassing falsely,

maliciously, in bad faith, and without probable cause.

           211.   Police Officers Johnny Blasini and John Does 9-11 charged Kieron Johnson and

with trespassing falsely, maliciously, in bad faith, and without probable cause.




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       212.     Police Officers Lomangino and Koch charged A.O. with trespassing falsely,

maliciously, in bad faith, and without probable cause.

       213.     Police Officers Ramdeen and Jolm Doe 12 charged Abudllah Turner with

trespassing falsely, maliciously, in bad faith, and without probable cause.

       214.     Police Officer Santiago charged Charles Bradley with trespassing falsely,

maliciously, in bad faith, and without probable cause.

       215.     The prosecutions of lG., W.B., Kieron Johnson, A.O., Abdullah Turner, and

Charles Bradley were terminated in their favor.

       216.     The Defendants' actions violated the rights of Plaintiffs J.G., W.B., Kieron

Johnson, A.O., Abdullah Turner, and Charles Bradley under New York common law to be free

from malicious prosecution.

                                     PRAYER FOR RELIEF

       WHEREFORE the Plaintiffs respectfully request that the Court:

        1.      Assume jurisdiction over this matter;

        2.      Certify this action as a class action pursuant to Federal Rule of Civil Procedure

23(b)(2);

        3.      Declare that the Defendants' actions violate the Plaintiffs' rights under the Fourth

Amendment ofthe United States Constitution, Article I, Section 12 of the New York

Constitution, and New York common law;

        4.      Declare that the Defendants' actions violate the Plaintiffs' rights under the First

and Fourteenth Amendments and Article I, Section 8 of the New York Constitution;

        5.      Declare that the Defendants' actions in and around Clean Halls Buildings violate

the Plaintiffs' rights under the Fair Housing Act;




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       6.      Enjoin further violations ofthe Plaintiffs' constitutional, statutory, and common

law rights, including but not limited to an injunction that requires the Defendants to:

               a.      Refrain from unlawfully stopping and questioning individuals in or around

                       buildings enrolled in Operation Clean Halls;

               b.      Refrain from unlawfully searching individuals in or around buildings

                       enrolled in Operation Clean Halls;

               c.      Refrain from unlawfully arresting or otherwise charging individuals in or

                       around buildings enrolled in Operation Clean Halls;

               d.      Establish appropriate citywide standards for enrollment of privately owned

                       residential buildings in Operation Clean Halls;

               e.      Establish a system for tracking and monitoring NYPD practices in and

                       around buildings enrolled in Operation Clean Halls Buildings to determine

                       whether stops, searches, summonses and arrests have comported with

                       legal requirements;

               f.      Establish a system for tracking and monitoring the stops, searches,

                       summonses, and arrests made pursuant to Operation Clean Halls,

                       including by race, national origin, building, precinct, and borough to

                       determine whether the program is being implemented in a discriminatory

                       manner;

               g.      Develop and implement appropriate training for members of the NYPD

                       who patrol in or around buildings enrolled in Operation Clean Halls;

               h.      Implement a system of reporting to the Plaintiff and the Cami about all

                       steps taken to cure the violations of the Plaintiffs' rights;




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       7.     Award compensatory damages for injuries sustained by Named Plaintiffs;

       8.     Award Plaintiffs reasonable attorneys' fees and costs under 42 U.S.C. §§ 1988

and 3613(c)(2); and

       9.     Grant any other relief the Cami deems necessary and proper.


Dated: March 28,2012
       New York, New York
                                           Respectfully submitted,


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